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                      0IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


CHRIS BARNARD, JOLENE FURDEK, and                                                 PLAINTIFFS
RENE REVILLA, Each Individually and on
Behalf of All Others Similarly Situated


vs.                                      3:17-cv-2650-N


FUSION LOGISTICS, INC.;                                                         DEFENDANTS
FUSION LOGISTICS, LLC; PEI OHIO, INC.; and
PREMIUM TRANSPORTATION STAFFING, INC.


                                  JOINT STATUS REPORT


         Plaintiffs Chris Barnard, Jolene Furdek and Rene Revilla, through their

undersigned counsel, and Defendants Fusion Logistics, Inc., and PEI Ohio, Inc.,

through their undersigned counsel, file this Joint Status Report, and in support they

state and allege as follows:

         1.    The parties are filing this Report pursuant to this Court’s order at ECF No.

67.

         2.    The parties completed the drafting and negotiation of the settlement

agreement on 8/28/2019, and the parties have completed and agreed to the calculation

of the payments due to Plaintiffs and the individual class members.

         3.    The attorneys are working on obtaining signatures from the named

Plaintiffs and Defendants.

         4.    The parties ask for an additional 30 days to finalize the settlement and file

the appropriate dismissal papers or otherwise provide another status report.
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      WHEREFORE, premises considered, the parties respectfully pray that the Court

take notice of the parties continuing efforts to finalize the settlement, allow the parties

an additional 30 days to finalize the settlement and settlement and file the appropriate

dismissal papers with this Court or otherwise file another status report, and for all other

necessary and proper relief.

                                                     Respectfully submitted,

                                                     CHRIS BARNARD, JOLENE FURDEK,
                                                     and RENE REVILLA, Each
                                                     Individually and on Behalf of All
                                                     Others Similarly Situated,
                                                     PLAINTIFFS

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                                                     DEFENDANT FUSION LOGISTICS,
                                                     INC.

                                                     ESTES THORNE & CARR PLLC

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                             CERTIFICATE OF SERVICE
        I, Josh Sanford, do hereby certify that, on the date imprinted by the CM/ECF
system, the foregoing JOINT REPORT was filed via the Court’s CM/ECF System which
will provide notice to the following attorneys of record:

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